Case 05-39803-DOT       Doc 11     Filed 10/21/05 Entered 10/21/05 17:26:05            Desc Main
                                  Document      Page 1 of 2



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   Attorney for Petitioners

                   UNITED STATES BANKRUPTCY COURT FOR THE
                         EASTERN DISTRICT OF VIRGINIA
                              RICHMOND DIVISION

   In Re:                                       Case No.: 05-39803
   Gerald L. McTague
   Debtor                                       Rule 2016(b) – Statement of
                                                     Attorney Compensation
   Lena A. McTague                              Chapter 13
   Debtor

           DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR

          Pursuant to 11 U.S.C. Sec. 329(a) and Bankruptcy Rule 2016(b), I certify that I
   am the attorney for the above-named debtor(s) and that compensation paid to me within
   one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for
   services rendered or to be rendered on behalf of the debtor(s) in this bankruptcy
   proceeding is as follows:

          Attorney fees paid for representation in this Chapter 13 Bankruptcy $1,500.00

          Costs advanced                                                       $ 150.00
          Court filing fees advanced                                           $ 194.00
          Advance for Judgment lien search on real estate                      $ 200.00

          Balance due                                                           $   -0-

      The source of the compensation paid to me was:

      [x] Debtor                 [ ] Other

      The source of compensation to be paid to me is:

      [ ] Debtor                 [ ] Other

      I have not agreed to share the above-disclosed compensation with any other person
      unless they are members and associates of my law firm.
Case 05-39803-DOT       Doc 11     Filed 10/21/05 Entered 10/21/05 17:26:05             Desc Main
                                  Document      Page 2 of 2



      In return for the above disclosed fee, I have agreed to render legal services in this
      bankruptcy case, as follows:

      Analysis of the debtor’s financial situation, and rendering advice to the debtors in
      determining whether to file a petition in bankruptcy

      Preparation and filing of the petition, schedules, statement of affairs, plan and any
      suggestion in bankruptcy that may be required

      Representation of the debtors at the meeting of creditors and any adjourned hearing
      thereof

      Preparation and filing of any amendments of the petition, schedules, statement of
      affairs and plan, which may be required prior to court approval of the plan;

      When necessary, the assistance in the release and recovery of garnished funds, after
      relief is granted.

      By agreement with the debtor(s), the above-disclosed fee does not include the
      following services, which will be billed hourly if and when needed:

      Representation of debtors in adversary proceedings or contested bankruptcy matters,
      or matters which require a court appearance

      Preparation and filing of any amendments of the petition, schedules, statement of
      affairs and plan; which may be required after court approval of the plan;

      Motions for redemption and to avoid liens pursuant to 11 U.S.C. 506(d) and 522(f)
      and subsequent release of state court judgment liens on real estate;


                                         CERTIFICATION

      I certify that the foregoing is a complete statement of any agreement or arrangement
      for payment to me for representation of the debtor(s) in this bankruptcy proceeding

      ___10/21/05________________                ___/s/ Walter Ragland___________
                Date                             Walter Ragland
                                                 Signature of Attorney
                                                 Walter Ragland, P.C.
                                                 Name of Law Firm
